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                                                                            UNITED STATES DISTRICT COURT
                                           9                               NORTHERN DISTRICT OF CALIFORNIA
                                                                                  SAN JOSE DIVISION
                                          10
For the Northern District of California




                                               GPNE CORP.,                                      )
                                          11                                                    )    Case No.: 12-CV-02885-LHK
    United States District Court




                                                                      Plaintiff,                )
                                          12          v.                                        )
                                                                                                )    PROPOSED VERDICT FORM
                                          13   APPLE, INC.,                                     )
                                                                                                )
                                          14                          Defendant.                )
                                                                                                )
                                          15

                                          16         The parties shall file any objections to the proposed verdict form by October 20, 2014, at 8
                                               a.m. Objections should not exceed 2 pages in length.
                                          17

                                          18
                                               IT IS SO ORDERED.
                                          19
                                               Dated: October 17, 2014                              _________________________________
                                          20                                                        LUCY H. KOH
                                          21                                                        United States District Judge

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                                               Case No.: 12-CV-02885-LHK
                                               PROPOSED VERDICT FORM
                                                       When answering the following questions and filling out this Verdict Form, please follow
                                           1   the directions provided throughout the form. Your answer to each question must be unanimous.
                                           2   Some of the questions contain legal terms that are defined and explained in detail in the Jury
                                               Instructions. Please refer to the Jury Instructions if you are unsure about the meaning or usage of
                                           3   any legal term that appears in the questions below.

                                           4          We, the jury, unanimously agree to the answers to the following questions and return them
                                               under the instructions of this Court as our verdict in this case.
                                           5
                                                                                     I. INFRINGEMENT
                                           6
                                                      1. For each of the following products, has GPNE proven by a preponderance of the
                                           7             evidence that Apple has infringed Claim 44 of the ’492 patent:
                                           8              Please answer in each cell with “Infringed” (for GPNE) or “Not infringed” (for Apple).
                                                          Do not provide an answer for any cell that is blacked out.
                                           9

                                          10        Apple Product                    Literal Infringement       Doctrine of Equivalents
For the Northern District of California




                                          11
    United States District Court




                                                                           GPRS
                                          12        iPhone 4 (A1332)
                                                                           LTE
                                          13
                                                                           GPRS
                                          14        iPhone 4S (A1387)
                                                                           LTE
                                          15
                                                                           GPRS
                                          16        iPhone 5 (A1428)
                                                                           LTE                                  N/A
                                          17
                                                                           GPRS
                                          18        iPad 2 (A1396)
                                                                           LTE
                                          19
                                                                           GPRS
                                          20        iPad 3 (A1430)
                                                                           LTE
                                          21
                                                    iPad mini (A1454)      GPRS
                                          22
                                                                           LTE
                                          23

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                                               Case No.: 12-CV-02885-LHK
                                               PROPOSED VERDICT FORM
                                                      2. For each of the following products, has GPNE proven by a preponderance of the
                                           1             evidence that Apple has infringed Claim 19 of the ’954 patent:
                                           2             Please answer in each cell with “Infringed” (for GPNE) or “Not infringed” (for Apple).
                                                         Do not provide an answer for any cell that is blacked out.
                                           3
                                                   Apple Product                   Literal Infringement       Doctrine of Equivalents
                                           4

                                           5                               GPRS
                                                   iPhone 4 (A1332)
                                           6                               LTE

                                           7                               GPRS
                                                   iPhone 4S (A1387)
                                           8                               LTE

                                           9                               GPRS
                                                   iPhone 5 (A1428)
                                          10                               LTE                                N/A
For the Northern District of California




                                          11                               GPRS
                                                   iPad 2 (A1396)
    United States District Court




                                          12                               LTE

                                          13                               GPRS
                                                   iPad 3 (A1430)
                                          14                               LTE

                                          15       iPad mini (A1454)       GPRS

                                          16                               LTE

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                                               Case No.: 12-CV-02885-LHK
                                               PROPOSED VERDICT FORM
                                           1          3. For each of the following products, has GPNE proven by a preponderance of the
                                                         evidence that Apple has infringed Claim 22 of the ’954 patent:
                                           2
                                                         Please answer in each cell with “Infringed” (for GPNE) or “Not infringed” (for Apple).
                                           3             Do not provide an answer for any cell that is blacked out.
                                           4        Apple Product                   Literal Infringement       Doctrine of Equivalents
                                           5

                                           6                               GPRS
                                                    iPhone 4 (A1332)
                                           7                               LTE

                                           8                               GPRS
                                                    iPhone 4S (A1387)
                                           9                               LTE

                                          10                               GPRS
                                                    iPhone 5 (A1428)
For the Northern District of California




                                          11                               LTE                                 N/A
    United States District Court




                                          12                               GPRS
                                                    iPhone 5 (A1429)                                           N/A
                                          13                               LTE
                                          14                               GPRS
                                                    iPad 2 (A1396)
                                          15                               LTE
                                          16                               GPRS
                                                    iPad 3 (A1430)
                                          17                               LTE

                                          18                               GPRS
                                                    iPad 3 (A1403)
                                          19                               LTE
                                          20        iPad mini (A1454)      GPRS
                                          21                               LTE
                                          22        iPad mini (A1455)      GPRS
                                                                                                               N/A
                                          23                               LTE
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                                               Case No.: 12-CV-02885-LHK
                                               PROPOSED VERDICT FORM
                                                                                           II. INVALIDITY
                                           1
                                                      4. Has Apple proven by clear and convincing evidence that GPNE’s patent claims are
                                           2             invalid?
                                           3             Please answer in each cell with “Invalid” (for Apple) or “Valid” (for GPNE).
                                           4                       GPNE Asserted Claim            Invalid or Valid
                                           5
                                                                   ’954 patent, Claim 19
                                           6
                                                                   ’954 patent, Claim 22
                                           7
                                                                   ’492 patent, Claim 44
                                           8

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                                          10
For the Northern District of California




                                          11
    United States District Court




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                                               Case No.: 12-CV-02885-LHK
                                               PROPOSED VERDICT FORM
                                                                                  III. DAMAGES (IF APPLICABLE)
                                           1
                                                  You must find that an Apple product infringed a valid patent claim to award damages.
                                           2
                                                      5. What is the total dollar amount that GPNE is entitled to receive from Apple on the
                                           3             claims on which you have ruled in favor of GPNE?
                                           4
                                                                  $_______________________________________________
                                           5

                                           6          6. For the total dollar amount in your answer to Question 5, please indicate whether
                                                         you calculated the amount based on a lump sum royalty or a per unit royalty by
                                           7             writing down either “lump sum royalty” or “per unit royalty” on the line below.
                                           8
                                                                   _______________________________________________
                                           9

                                          10          7. For the total dollar amount in your answer to Question 5, please provide in the
For the Northern District of California




                                                         chart below the dollar breakdown for each product.
                                          11
    United States District Court




                                          12                 Apple Product                         Damages (in total dollars)
                                                             iPhone 4 (A1332)                      $
                                          13
                                                             iPhone 4S (A1387)                     $
                                          14                 iPhone 5 (A1428)                      $
                                          15                 iPhone 5 (A1429)                      $
                                          16                 iPad 2 (A1396)                        $
                                                             iPad 3 (A1430)                        $
                                          17
                                                             iPad 3 (A1403)                        $
                                          18
                                                             iPad mini (A1454)                     $
                                          19                 iPad mini (A1455)                     $
                                          20
                                               The individual amounts in each cell of Question 7 should add up to the total you have listed in
                                          21                                   your answer to Question 5.

                                          22          You have now reached the end of the verdict form and should review it to ensure it
                                               accurately reflects your unanimous determinations. The Presiding Juror should then sign and date
                                          23   the verdict form in the spaces below and notify the Bailiff that you have reached a verdict. The
                                               Presiding Juror should retain possession of the verdict form and bring it when the jury is brought
                                          24   back into the courtroom.
                                          25
                                                DATED: ____________, 2014             By:______________________________________
                                          26                                             Presiding Juror
                                          27

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                                                                                               6
                                               Case No.: 12-CV-02885-LHK
                                               PROPOSED VERDICT FORM
